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                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

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In re Terrorist Attacks on September 11, 2001                      03 MDL 1570 (RCC)

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This document relates to:

        Estate of John P. O’Neill, Sr., et al. v. Al Baraka Investment and Dev. Corp., et al.
        04-CV-1923 (RCC)


                          NOTICE OF VOLUNTARY DISMISSAL

        Pursuant to the Federal Rules of Civil Procedure, Rule 41, Plaintiffs in the above-

referenced action hereby voluntarily dismiss the following Defendant without prejudice,

and with each party to bear its own fees, costs and expenses, from Estate of John P.

O’Neill, et al. v. Al Baraka Investment and Dev. Corp., et al., 04-CV-1923 (RCC):

                                   Khalid Sulaiman Al-Rajhi



Dated: New York, NY                                  Respectfully Submitted,
April 21, 2005
                                                     LAW OFFICES OF JERRY S. GOLDMAN
                                                          & ASSOCIATES, P.C.



                                                     BY:__/s/__________________________
                                                           Jerry S. Goldman, Esquire (JG 8445)
                                                           111 Broadway, 13th Floor
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